 Case 5:20-cv-00768-TJH-PVC Document 724 Filed 10/20/20 Page 1 of 2 Page ID #:17367



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 8                   United States District Court
 9                   Central District of California
10                        Western Division
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12    KELVIN HERNANDEZ ROMAN, et al.,                        ED CV 20-00768 TJH
13                        Petitioners-Plaintiffs,
14          v.                                                       Order
15    CHAD T. WOLF, et al.,
16                        Respondents-Defendants.
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18         The Court has considered the motions to intervene filed by class members
19   Salvadore Chavez Gonzalez [dkt # 359], Daniel Varela Reyes [dkt # 413], and Victor
20   Sanchez Negron [dkt # 447] [collectively, “the Proposed Interveners”], together with
21   the moving and opposing papers.
22         On June 1, 2020, the Court indicated that it would consider a classwide motion
23   for bail, as well as motions to intervene, pursuant to Fed. R. Civ. P. 24, for the limited
24   purpose of seeking bail, by class members who filed their own individual habeas
25   petitions under other case numbers. On June 17, 2020, the Court granted the motion
26   of Petitioners-Plaintiffs for classwide bail and requested the parties to propose a process
27   for the Court to make individualized bail determinations for each class member. On
28   June 25, 2020, after considering the proposed process, the Court implemented a

                                                                           Order – Page 1 of 2
Case 5:20-cv-00768-TJH-PVC Document 724 Filed 10/20/20 Page 2 of 2 Page ID #:17368
